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    UNITED STATES DISTRICT COURT FOR THE
    EASTERN DISTRICT OF PENNSYLVANIA
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    Mitnick Law Office LLC,              :                                    DOCKET NO.
                             Petitioner, :
    v.                                   :                                    PETITION TO VACATE
                                                                              ARBITRATION AWARD
    Balanced Bridge Funding LLC, fka Thrivest    :
    Specialty Funding LLC,
                                     Respondent. :
    –––––––––––––––––––––––––––––––––

   MITNICK LAW OFFICE LLC (PETITIONER), by and through their attorney, CRAIG R.
   MITNICK, ESQUIRE, file this Petition to Vacate the AAA Arbitration Award entered on
   September 1, 2021, and allege the following:


                                 INTRODUCTION OF FACTS

1. The brief facts and description of the nature of the AAA Arbitration Award that was entered
   against Petitioner and in favor of Respondent stemmed from a consecutive set of roll-over
   contracts contract entered between Parties between 2015 and 2018. The contracts were titled
   “Non-Recourse Buy-Sell Agreements” and as such were purported to not be subject to Usury
   regulations. The Agreements were drafted as litigation financing Agreements and were to be
   secured by future receivables where services had been provided, however fees had not yet been
   realized. The action that was the subject of the receivables was and remains titled “The NFL
   Retired Players Concussion Injury Litigation”. Shortly after the above Federal Action had been
   ruled a Multi District Litigation and assigned to the United States District Court for the Eastern
   District of Pennsylvania, Petitioner, Mitnick Law Office (Mitnick) formally retained the law firm
   of Fox-Rothchild in Philadelphia to protect its’ interests in anticipated common benefit fees to be
   awarded when the NFL litigation had resolved, as well as protect fees Mitnick was to receive
   from Lock’s Law Firm, another Philadelphia law firm who was actively involved in the NFL
   litigation and who shared mutual clients with Petitioner Mitnick. A retention Agreement was
   signed by Fox Rothchild and Petitioner, Mitnick Law Office LLC on October 26, 2012, and after
   approximately 6 years, the attorney-client relationship was formally terminated on February 19,
   2019 at which point Mitnick received a “Conclusion of Representation” letter from Fox-
   Rothchild. At some point during the active Attorney-client relationship between Petitioner
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   Mitnick and Fox-Rothchild, Fox-Rothchild entered into a separate Retainer Agreement with a
   separate client, Thrivest Funding Group, now known as Balanced Bridge Funding, the same
   funding Company who was doing business with Petitioner Mitnick regarding litigation funding
   for Mitnick’s involvement in the NFL MDL action and for which Mitnick had retained Fox-
   Rothchild for legal representation. Petitioner Mitnick was never provided with a copy of the
   Thrivest retention agreement entered between Thrivest and Fox-Rothchild, nor was Petitioner
   Mitnick ever advised that Fox-Rothchild had intended to enter into the relationship with
   Respondent Thrivest until several years later. Additionally, Petitioner was never advised as to the
   facts under which Fox- Rothchild was acting on behalf of Respondent, Thrivest.


2. In November of 2019, Petitioner received a detailed letter from Peter Buckley, Esquire, one of
   the primary attorneys from Fox-Rothchild who had represented Petitioner Mitnick, stating that
   the firm represented Respondent Thrivest regarding the funding Agreements in which Mitnick
   had previously entered with Thrivest. The correspondence received by Mitnick from Attorney
   Buckley addressed Mitnick personally and requested specific documentation, as well as
   demanded monetary payments from Mitnick on behalf of Thrivest. Mitnick immediately
   responded back to the Fox Rothchild Attorney advising that Petitioner believed that there was
   clearly an ethical conflict issue that existed and that Fox-Rothchild’s legal representation of
   Thrivest against Mitnick was ethically inappropriate.


3. On April 29, 2020, Petitioner Mitnick received further correspondence from another Fox-
   Rothchild Attorney, Eric Reed, Esquire who had been involved with the NFL action on behalf of
   Thrivest previously with Attorney Buckley. The correspondence from Reed confirmed the
   previous correspondence from Buckley in November 2019, as well as confirmed numerous
   phone messages that were placed to Mitnick from Fox-Rothchild in an adversarial manner and in
   the capacity of legal representatives for Respondent Thrivest.


4. One week later, on May 8, 2020, Petitioner Mitnick was served with a formal Arbitration
   Demand from Fox-Rothchild on behalf of Respondent Thrivest that had been filed with the
   American Arbitration Association. The demand alleged breach of contract by Mitnick with
   regard to the NFL matter. Fox-Rothchild previously represented Petitioner Mitnick
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   for over six- and one-half years and had now filed formal litigation against Mitnick in the same
   named litigation on behalf of another client. Again, Petitioner Mitnick notified Fox-Rothchild of
   Petitioner’s belief that there was an inherent ethical conflict. Fox-Rothchild aggressively
   dismissed the conflict argument and vigorously pursued the litigation against Petitioner asserting
   there was absolutely no ethical conflict.


5. Shortly after the Arbitration was instituted, an Arbitrator assigned to the AAA, Francis Orlando
   was chosen to preside over the matter and the potential ethical conflict issue was brough to his
   attention by Petitioner. Fox-Rothchild immediately dismissed the conflict as inconsequential and
   advised the Arbitrator that the issue was solely being brough up as a delay tactic. Legal briefs
   were requested and submitted by both parties regarding the conflict issue. Shortly thereafter
   during a pre-scheduled telephone conference with the Arbitrator that was not recorded or
   documented on the record the Arbitrator determined that it was his belief that no conflict existed
   since the breach of contract allegation was a different issue than the representation provided
   previously to Petitioner Mitnick and clearly stated “even though Fox-Rothchild had represented
   both Parties in the same NFL action, that the breach of contract currently before the Arbitrator
   was a separate issue involving separate evidence”. The Arbitrator then went on to state “no
   matter how he decided on the conflict issue, that either Fox-Rothchild or another firm would
   represent the Respondent, so we should all just move forward”. The Arbitrator completely
   ignored arguments by Mitnick, the evidence to be presented in the Arbitration, the cannons of
   ethics.


6. During Fox-Rothchild’s representation of Petitioner Mitnick, the law firm was given proprietary
   documentation from the NFL Litigation, extensive client lists containing the names of over 1000
   retired NFL Players with whom Petitioner Mitnick represented directly and in conjunction with
   Lock Law Firm, hand-written notes, as well as being involved with confidential communications
   with Mitnick throughout 6 years of representation. That same documentation, the same client
   listings, notes and communications was the same evidence presented by Fox-Rothchild on behalf
   of Respondent Thrivest and considered by the Arbitrator during the Arbitration process and
   determination of the Arbitration award. Petitioner was at a complete disadvantage from day one
   of the Arbitration proceedings and undoubtedly the prior documentation in possession of Fox-
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   Rothchild was used to the advantage of its’ client, Respondent Thrivest. The Arbitrator’s
   decision to casually deny Petitioner’s request that Fox-Rothchild be conflicted out of the matter
   was blatantly a legally incorrect decision for which the Arbitrator was aware of the law and
   familiar with the ethical cannons that existed. Respondent Thrivest’s representation by Fox-
   Rothchild allowed by the Arbitrator inherently prejudiced Petitioner Mitnick and in allowing the
   representation by Fox-Rothchild, the Arbitrator exceeded his powers, or so imperfectly executed
   them in determining that no ethical conflict existed. It appears that financial factors played a
   more fundamental role in the conflict issue than ethics or fundamental fairness to Petitioner
   Mitnick. The final award against Petitioner issued by the Arbitrator was in excess of Two
   Million, Three Hundred Thousand Dollars ($2,300,000), with interest continuing to accrue on the
   award at a 19% rate compounded monthly and accruing daily. The award also included legal fees
   to be paid to Fox-Rothchild’s role in an amount over $100,000.


7. Petitioner seeks an Order from this Court under the Federal Arbitration Act, [9 U.S.C. § 10/9
   U.S.C. § 11], vacating the arbitration award dated September 1, 2021, rendered in the American
   Arbitration Association Arbitration before Francis Orlando, Arbitrator.




                                             PARTIES


8. PETITIONER, Mitnick Law Office, LLC is an entity whose primary and only office location is
   8000 Sagemore Drive, Suite 8305, Marlton, New Jersey, 08053. Petitioner is a Limited Liability
   Corporation incorporated in the State of New Jersey. Petitioner is a law firm with a sole
   practitioner.


9. RESPONDENT, Thrivest Funding, also known as Balanced Bridge Funding, is a finance
   litigation funding organization whose primary address is in Ardmore, Pennsylvania and whose
   primary address was in Philadelphia, Pennsylvania while doing business with Petitioner Mitnick.
   The state of Respondent’s incorporation is unknown to Petitioner.
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10. PETITIONER has one member, Craig R. Mitnick, Esquire who is a resident of the state of New
   Jersey and has resided in the State of New Jersey for over 50 years.



                                  JURISDICTION AND VENUE


   11. Venue is proper in this judicial district because the parties' Arbitration Agreement specified
   the Commonwealth of Pennsylvania as the place for enforcement of the award and Venue is also
   proper in this judicial district pursuant to 9 U.S.C. § 10(a) because the award was determined
   under the laws of the Commonwealth of Pennsylvania and Venue is also proper in this judicial
   district pursuant to 28 U.S.C. § 1391 because a substantial part of the events giving rise to the
   breach of Contract claim and assets to possibly be attached arise out of litigation currently being
   handled in the Eastern District of Pennsylvania. The amount in controversy exceeds $75,000,
   exclusive of interest and costs.



                                        FACTUAL EXHIBITS


   12. Attached hereto as Exhibit A is a true and correct copy of the original Arbitration Agreement
   between the parties.


   13. Attached hereto as Exhibit B is a true and correct copy of the duly Certified Arbitration
   Award issued by Arbitrator Francis Orlando affiliated with the American Arbitration Association
   dated September 1, 2021.


   14. Attached hereto as Exhibit C is the true and correct copy of the Retainer Agreement entered
   by Mitnick and Fox-Rothchild and true and correct copies of examples of work performed by
   Fox-Rothchild on behalf of Mitnick that mirrors the subject matter of the adverse Arbitration.


   15. Attached hereto as Exhibit D is a true and correct copy of the “Conclusion of
   Representation” letter sent by Fox-Rothchild to Mitnick and the accompanying initial adversarial
   correspondence sent from Fox-Rothchild on behalf of Thrivest to Mitnick.
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16. Attached hereto as Exhibit E is a true and correct copy of the legal brief regarding the ethical
conflict issue submitted to the Arbitrator by Petitioner Mitnick in the American Arbitration
Association’s Arbitration before Arbitrator Francis Orlando.


17. Attached hereto as Exhibit F is a true and correct copy of the legal brief regarding the ethical
conflict issue submitted to the Arbitrator by Respondent Thrivest in the American Arbitration
Association’s Arbitration before Arbitrator Francis Orlando.


18. Pursuant to 9 U.S.C. § 12, Petitioner has brought this action within three months after the
Award was delivered by the AAA on September 1, 2021.


19. The Award should be vacated under 9 U.S.C. § 10 because of the facts and circumstances as
set forth in full in Paragraphs one through 17 above, as well as the fact that (1) Petitioner Mitnick
was completely prejudiced throughout the Arbitration proceeding and (2) the Arbitrator’s
decision to casually deny Petitioner’s request that Fox-Rothchild be ethically conflicted out of
the matter after the firm previously represented Petitioner Mitnick and then simultaneously
represented Petitioner Mitnick and Respondent Thrivest for a period of time and finally
represented Respondent Thrivest against Petitioner Mitnick is a clear violation of Pennsylvania
attorney ethics and was a legally and factually incorrect decision by the Arbitrator, inherently
biased against the Petitioner. The Arbitrator exceeded his powers, or so imperfectly executed
them in determining that no ethical conflict existed on behalf of Fox-Rothchild representing
Respondent in the Arbitration that the final award against Petitioner in excess of Two Million,
Three Hundred Thousand Dollars ($2,300,000), with interest continuing to accrue at a 19% rate
compounded monthly and accruing daily on the award amount, was inherently unfair,
inequitable, ethically improper, prejudicial to Petitioner and inherently bias to Petitioner.


20. PETITIONER, Mitnick alleges that the Arbitrator, Francis Orlando, acted in such a way that
the award in said Arbitration was obtained by undue means and the Arbitrator is guilty of misconduct
in refusing to conflict out Fox-Rothchild on behalf of Respondent which prejudiced Petitioner
Mitnick from day one in the Arbitration proceeding and in determining the final Award. The
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Arbitrator additionally exceeded his powers, or so imperfectly executed them that there was no
means by which fair, reasonable, and non-prejudicial award could have been made on the subject
matter submitted by Respondent Thrivest due to the tainted nature of the evidence improperly
obtained by Respondent Thrivest’s counsel Fox-Rothchild through the law firm’s prior representation
of Petitioner Mitnick on the same subject matter.


21. PETITIONER Mitnick repeats and realleges paragraphs 1 through 20 hereof, as if fully set
forth within.


WHEREFORE, PETITIONER MITNICK respectfully requests that this Court:


By reason of the foregoing and pursuant to 9 U.S.C. § 10, the Court should vacate the Arbitration
Award annexed hereto as Exhibit B by American Arbitration Association’s Arbitrator, Francis
Orlando under date of September 1, 2021, and direct the Respondent to obtain new counsel who
may then proceed in accordance with the Arbitration Clause contained in the attached
Agreement, paragraph 11 under Exhibit A between Petitioner and Respondent. In the alternative,
the Court should vacate the award with no rehearing ordered since the evidence presented on
behalf of Thrivest by Fox-Rothchild has already been submitted and utilized in the determination
of the current award and there are no means by which Petitioner Mitnick can now receive a fair
rehearing.


Award the Petitioner such other and further relief as this Court deems just and proper.


October 25, 2021, Marlton, New Jersey
                                                         Respectfully submitted,
                                                         MITNICK LAW OFFICE LLC




                                                         Craig R. Mitnick, Esquire
                                                         8000 Sagemore Drive, Suite 8305
                                                         Marlton, New Jersey 08053
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                                   856-427-9000
                                   craig@mitnicklegal.com
                                   Attorney I.D. 50728
                                   Attorney for Petitioner
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                                         EXHIBIT D

Various Correspondence between Petitioner and Respondent relevant to the Ethical Conflict


                                         EXHIBIT E

            Petitioner’s legal brief regarding Conflict submitted to AAA Arbitrator



                                         EXHIBIT F

           Respondent’s legal brief regarding Conflict submitted to AAA Arbitrator
